                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                               KNOXVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )      3:08-CR-82
                                           )      JUDGE VARLAN/SHIRLEY
ALAN WAYNE MCCARTER                        )


                                         ORDER

              On the petition of the United States of America by James R. Dedrick, United

States Attorney for the Eastern District of Tennessee,

              It is ordered that the Clerk of this Court be and hereby is instructed to issue

a writ of habeas corpus ad prosequendum to the Sheriff of the Sevier County Jail, to bring

Alan Wayne McCarter, before this Court at Knoxville, Tennessee, on June 18, 2008, at 9:30

a.m., for an Initial Appearance, or for his case to be otherwise disposed of upon said

indictment heretofore returned against him, and each day thereafter until said case is

disposed of, and immediately thereafter be returned to said Sevier County Jail.

              And it is further ordered that in the event the Sheriff of said Sevier County

Jail, so elects, the United States Marshal for the Eastern District of Tennessee, or any other

duly authorized United States Marshal or Deputy United States Marshal, is directed to

receive said Alan Wayne McCarter, into his custody and transport him to and from said

Sevier County Jail, and this Court for the aforesaid purpose.

                                           APPROVED FOR ENTRY:

                                               s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




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